Case 1:19-cr-00018-ABJ Document 353 Filed 02/25/20 Page 1of3

 

 

 

 

 

 

 

 

 

 

 

 

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Plaintiff [| VS. Civil/Criminal No. 19-CR-018
Defendant [_] ROGER J. STONE, JR.
Joint [
Court [|
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Case 1:19-cr-00018-ABJ Document 353 Filed 02/25/20 Page 2 of 3

 

 

 

 

 

 

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